 Case 3:23-cr-00460-M        Document 64        Filed 03/27/25      Page 1 of 2      PageID 202

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §          Case Number: 3:23-CR-00460-M
                                                  §
COREY WILSON (01),                                §
                                                  §
       Defendant.                                 §
                                                  §

                        SCHEDULING ORDER FOR SENTENCING

       Should counsel for the defendant desire to be present for the initial interview between the

defendant and the probation officer, counsel must arrange to do so within three government

business days from the date of this order.

       The Presentence Report must be disclosed to the Court, the defendant, defendant’s

counsel, and the attorney for the Government, via electronic filing, by June 5, 2025.

       Written objections to the Presentence Report, or a written statement adopting the findings

of the Presentence Report, must be electronically filed by June 18, 2025. IF THEY HAVE NO

OBJECTIONS, BOTH THE GOVERNMENT AND THE DEFENDANT ARE

REQUIRED TO FILE A WRITTEN STATEMENT STATING THEY HAVE NO

OBJECTIONS.

       If written objections to the Presentence Report have been timely made, the Probation

Office must electronically file any addendum to the Presentence Report by July 3, 2025.

       Written objections to this addendum must be electronically filed by July 10, 2025.

       Sentencing of the Defendant is SET for July 17, 2025 at 2:30 p.m.

       Any motions for downward departure and sentencing memoranda must now be

electronically filed on or before July 10, 2025. Character letters shall be e-mailed directly to


                                             Page 1 of 2
Case 3:23-cr-00460-M          Document 64       Filed 03/27/25       Page 2 of 2      PageID 203

the Court Coordinator, Alicyn Anthony, at Alicyn_Anthony@txnd.uscourts.gov, or mailed or

hand delivered on or before July 10, 2025. No courtesy copies are required.

       If, during the presentence report ("PSR") investigation, it is determined that Texas Youth

Commission ("TYC") records are needed, the court orders the TYC to release these records to

the Probation Officer assigned to prepare the PSR, acting in the performance of the officer's

official duties pursuant to Fed. R. Crim. P. 32. The specific records that are to be released

include documents pertaining to the defendant's social history, court disposition records,

substance abuse treatment records, psychological evaluations, other mental health treatment

records, educational records, general health records, adjustment while incarcerated records, and

release dates from the TYC.

       Questions relating to this Order are to be directed to Alicyn Anthony, at

Alicyn_Anthony@txnd.uscourts.gov, (214-753-2421).



       SO ORDERED.

       March 27, 2025.


                                              ___________________________________
                                              BARBARA M. G. LYNN
                                              SENIOR UNITED STATES DISTRICT JUDGE




                                             Page 2 of 2
